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              In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 10-875V
                                   (Not to be published)

*************************
                            *
GEORGE HAND,                *
                            *                         Filed: July 18, 2014
                Petitioner, *
                            *                         Decision by Stipulation; Attorneys’
          v.                *                         Fees & Costs
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*************************

Michael A. London, Douglas & London, P.C., New York, NY, for Petitioner

Michael P. Milmoe, U.S. Dep’t of Justice, Washington, DC, for Respondent

                       ATTORNEYS’ FEES AND COSTS DECISION 1

        On December 21, 2013, Petitioner George Hand filed a petition seeking compensation
under the National Vaccine Injury Compensation Program. On November 27, 2013, the parties
filed a stipulation detailing an amount to be awarded to Petitioner. On December 2, 2013, the
previous special master assigned to this matter issued a decision finding the parties’ stipulation to
be reasonable and granting Petitioner the award outlined by the stipulation.



1
  Because this decision contains a reasoned explanation for my action in this case, I will post this
decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C § 300aa-12(d)(4)(B),
however, the parties may object to the posted decision’s inclusion of certain kinds of confidential
information. To do so, Vaccine Rule 18(b) permit each party 14 days within which to request
redaction “of any information furnished by that party: (1) that is a trade secret or commercial or
financial in substance and is privileged or confidential; or (2) that includes medical files or
similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the decision will be available to the public. Id.
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        On July 18, 2014, 2 counsel for both parties filed another joint stipulation, this time
regarding attorneys’ fees and costs. The parties have stipulated that Petitioner’s counsel should
receive a lump sum of $29,000.00 in the form of a check jointly payable to Petitioner and
Petitioner’s counsel. This amount represents a sum to which Respondent does not object. In
accordance with General Order #9, Petitioner also filed an affidavit on July 17, 2014 indicating
that he had incurred no reimbursable costs in pursuit of his claim.

       I approve the requested amount for attorneys’ fees and costs as reasonable. Accordingly,
an award should be made in the form of a check jointly payable to Petitioner and Petitioner’s
counsel, Michael London, Esq., in the amount of $29,000.00. In the absence of a motion for
review filed pursuant to RCFC Appendix B, the clerk of the court SHALL ENTER
JUDGMENT in accordance with the terms of the parties’ stipulation. 3


       IT IS SO ORDERED.

                                                         /s/ Brian H. Corcoran
                                                            Brian H. Corcoran
                                                            Special Master




2
  Petitioner’s fee application was originally due on or before June 2, 2014, but before that
deadline Petitioner filed an unopposed motion for an extension of time to file his petition for
attorney’s fees and costs which I subsequently granted.
3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing (jointly or
separately) notices renouncing their right to seek review.
                                                  2
